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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                         §
                                                         §
     In re:                                              §               Chapter 11
                                                         §
     NATIONAL RIFLE ASSOCIATION                          §               Case No. 21-30085-HDH-11
     OF AMERICA; AND SEA GIRT LLC,                       §
                                                         §
              Debtors1                                   §                Jointly Administered
                                                         §
                                                         §
                                                         §
              BRIEF OF THE STATE OF TEXAS AS AMICUS CURIAE IN SUPPORT OF DEBTORS;
               AND IN OPPOSITION TO THE STATE OF NEW YORK’S MOTION TO DISMISS,
                    OR IN THE ALTERNATIVE TO APPOINT A CHAPTER 11 TRUSTEE




 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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                               IDENTITY AND INTEREST OF AMICUS CURIAE

          Amicus is the State of Texas. The State has an interest in protecting the constitutional rights

 of its citizens. The fundamental rights of freedom of speech and association and the right to bear

 arms are squarely implicated in the matters before this Court. Approximately 400,000 Texans are

 among the five million members of the National Rifle Association. Through this association, these

 members exercise their freedom to defend their rights under the Second Amendment. Texas has

 a significant interest in defending the rights of these individuals, as well as the right to exist for

 one of the Nation’s oldest civil rights organizations.

          Texas Attorney General Ken Paxton, on behalf of the State of Texas, respectfully submits

 this brief as amicus curiae under Fed. R. Bankr. P. 8017 in support of Debtors, and in debtors and

 debtors-in-possession, and in opposition to The State of New York’s Motion to Dismiss, or, In the

 Alternative, to Appoint Chapter 11 Trustee [ECF No. 155].2

                                                 INTRODUCTION

          The Texas Constitution enshrines two of the same core rights found in the United States

 Constitution: the right to speak, assemble, and associate freely, and the right to keep and bear arms.

 U.S. Const. amend. I and II; Tex. Const. art. I, §§ 8, 23, and 27. The preservation of these rights

 is central to Texas law. So too is the fair and consistent enforcement of the law. Each of these

 important interests would be assured should the NRA be permitted to reorganize in the State of

 Texas. For these reasons and based on the legal merits of the arguments at bar, the Court should

 deny the motions and allow the NRA’s reorganization to proceed in Texas.




 2
  Amicus also opposes other motions that seek the same relief as New York’s motion. See Ackerman McQueen, Inc.’s
 Motion to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative, Motion for the Appointment of a Chapter
 11 Trustee, and Brief in Support [ECF No. 131]; The District of Columbia’s Motion in Support of the State of New
 York’s Motion to Appoint Chapter 11 Trustee [ECF No. 214].

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          Texas recognizes the 150-year-old NRA as one of the Nation’s oldest civil rights

 organizations and principal defender of Second Amendment rights, representing some five million

 members. The NRA’s long-standing ties with Texas and its values are reflected in the fact that

 approximately 400,000 dues-paying NRA members reside in Texas—more than in any other State.

 The State of New York seeks to dissolve the Association and confiscate its assets to the detriment

 of hundreds of thousands of Texans and millions of law-abiding gun owners. This Court can, and

 should, permit the NRA to relocate to a state that respects its right to exist. Texas is amply

 equipped to oversee the NRA’s compliance with nonprofit and consumer protection laws, and the

 State intends to do just that.

         The NRA has the right to reorganize under the Bankruptcy Code and, facing what it

 perceives to be existential threats posed by political antagonism in the State of New York and by

 other simultaneous litigation, the Association has stated its intention to make Texas its new home.

 Texas therefore has a meaningful stake in the outcome of this bankruptcy proceeding, and in the

 Debtors’ successful reorganization. For the reasons set forth below, Texas respectfully submits

 that Movants’ motions to dismiss the Debtors’ bankruptcy petitions, or in the alternative, to appoint

 a bankruptcy trustee, should be denied.

                                             ARGUMENT

 I.      State regulation of nonprofit organizations implicates core First Amendment rights
         and must be viewpoint neutral.

         The Texas Attorney General is empowered to regulate organizations registered in the State

 of Texas, to represent the public interest, and to act to protect that interest. Tex. Bus. Orgs. Code

 §§ 12.151–12.156. The NRA, like any corporation or nonprofit in Texas, is subject to robust

 consumer protection oversight. The Office of the Attorney General rigorously investigates and

 initiates legal actions against companies and nonprofits that target consumers with unlawful,


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 deceptive, or misleading actions. See Tex. Bus. & Com. Code §§ 17.41–63. The Agency also

 investigates and initiates legal action against charitable organizations and their managerial officials

 to ensure that donations are lawfully solicited and that assets held by the charitable organization

 are properly managed, invested, and expended. Texas is therefore well positioned to regulate the

 activities of the NRA.

         Given these powers, the Texas Attorney General recognizes that an action to dissolve a

 nonprofit organization must be lodged judiciously, and with respect for the First Amendment,

 through the application of viewpoint neutrality principles. While it is well established that the

 First Amendment does not shield fraud committed by nonprofit organizations, the First

 Amendment does “protect[] the right to engage in charitable solicitation.” Illinois, ex rel. Madigan

 v. Telemarketing Associates, Inc., 538 U.S. 600, 611-12, 123 S.Ct. 1829, 1836 (2003) (citing

 Schaumburg v. Citizens for a Better Environment, 444 U.S. 620, 632, 100 S.Ct. 826 (1980)

 (“[C]haritable appeals for funds . . . involve a variety of speech interests—communication of

 information, the dissemination and propagation of views and ideas, and the advocacy of causes—

 that are within the protection of the First Amendment.”)). Indeed, it is a bedrock Constitutional

 principle that “[f]reedom of association for the purpose of advancing ideas and airing grievances

 is a fundamental liberty guaranteed by the First Amendment.” In re Bay Area Citizens Against

 Lawsuit Abuse, 982 S.W.2d 371, 375-76 (Tex. 1998) (citing National Ass’n for Advancement of

 Colored People v. State of Alabama, 357 U.S. 449, 460-61, 78 S.Ct. 1163, 1171 (1958)

 (“[W]hether the beliefs sought to be advanced by association pertain to political, economic,

 religious or cultural matters . . . state action which may have the effect of curtailing the freedom

 to associate is subject to the closest scrutiny.”).




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          The ACLU, 3 constitutional scholars,4 and sixteen states (including Texas)5 have sounded

 the alarm that the ongoing effort by New York State to dissolve the NRA violates these principles

 and appears to represent retaliation for the NRA’s political speech. Even if all the allegations set

 forth by the New York Attorney General in her New York dissolution lawsuit are taken as true,

 dissolution of an organization based on such facts would be a troubling, extraordinary remedy.

 Indeed, even if, as alleged, certain executives engaged in improper related-party transactions or

 received excess benefits, a responsible regulator would seek to resolve those issues—not seek to

 permanently destroy the ability of NRA members (none of whom are implicated in the alleged

 misconduct) to associate under their century-old banner in furtherance of their constitutional rights.

          The NRA has sought protection under the Bankruptcy Code to achieve that which is being

 denied in New York—a chance to reorganize and restructure its operations, and continue its

 existence and mission for the benefit of its creditors, employees, and members, rather than be

 dissolved, have its assets expropriated, and its members’ constitutional right to free association


 3
  See David Cole, The NRA Has a Right to Exist, WALL ST. J. (Aug. 26, 2020), https://www.wsj.com/ articles/thenra-
 has-a-right-to-exist-11598457143 (“The American Civil Liberties Union rarely finds itself on the same side as the
 National Rifle Association in policy debates or political disputes. Still, we are disturbed by New York Attorney
 General Letitia James’s recent effort to dissolve the NRA . . . You may have your own opinions about the NRA, but
 all Americans should be concerned about this sort of overreach . . . The right to associate can’t survive if officials can
 shut down organizations with which they disagree.”).
 4
   Noah Feldman, New York’s Attorney General Shouldn’t Dismantle the NRA, BLOOMBERG (Opinion, Aug. 6, 2020),
 https://www.bloomberg.com/opinion/articles/2020-08-06/new-york-s-attorney-general-shouldn-t-dismantle-nra-in-
 lawsuit (“[E]ven liberals who oppose the NRA’s mission should take a deep breath and ask: Do we really want an
 elected attorney general to try to destroy a prominent nongovernmental organization that is arrayed on the other side
 of the political spectrum from her? . . . [B]y seeking to dissolve the NRA, the New York attorney general is knowingly
 creating a narrative that is potentially costly to the rule of law, that may create terrible precedents for other states and
 that potentially implicates the First Amendment.”).

 5
   See NRA v. James, Civ. No. 1:20-cv-00889-MAD-TWD (Dkt. No. 25) (Brief of States of Arkansas, Alaska,
 Georgia, Idaho, Mississippi, Oklahoma, Kansas, Kentucky, Louisiana, Missouri, Ohio, South Carolina, South
 Dakota, Texas, Utah and West Virginia as Amici Curiae in Support of Plaintiff and in Opposition to Dismissal)
 (“The New York AG’s actions threaten the civil rights of five million members, including citizens of the Amici
 states.”); see also Brief of the States of Arkansas, Alabama, Alaska, Georgia, Idaho, Kentucky, Louisiana,
 Mississippi, Missouri, Montana, Ohio, Oklahoma, South Carolina, South Dakota, Utah, and West Virginia as Amici
 Curiae in Support of Debtors; and in Opposition to the State of New York’s Motion to Dismiss, or in the Alternative
 to Appoint a Chapter 11 Trustee, filed in this case as ECF No. 445.


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 undermined. The State of Texas will ensure that the reorganized NRA is lawfully governed, while

 also preserving and protecting the constitutional rights of NRA members.

 II.    The chapter 11 cases should not be dismissed, and the NRA should be afforded its
        right to reorganize under the Bankruptcy Code.

        Bankruptcy “is an equitable remedy,” whereby a debtor is given the opportunity “to

 facilitate rehabilitation or reorganization of his finances and to promote a ‘fresh start’ through the

 orderly disposition of assets to satisfy his creditors.” In re Little Creek Dev. Co., 779 F.2d 1068,

 1071 (5th Cir. 1986). The Court of Appeals in In re Little Creek Dev. Co. established the standard

 for dismissal of chapter 11 cases for bad faith. A bankruptcy court will determine whether a

 debtor’s “overriding motive is to delay creditors without benefiting them in any way or to achieve

 reprehensible purposes.” Id. at 1072. Determining whether the debtor’s filing is in good faith

 “depends largely upon the bankruptcy court’s on-the-spot evaluation of the debtor’s financial

 condition, motives, and the local financial realities.”      Id. “Resort to the protection of the

 bankruptcy laws is not proper [when] there is no going concern to preserve, there are no employees

 to protect, and there is no hope of rehabilitation, except according to the debtor’s ‘terminal

 euphoria.’” Id. at 1073. As explained by the Fifth Circuit, typical of bad faith filings are, for

 example, where a one-asset entity has been created on the eve of foreclosure to isolate the insolvent

 property and its creditors. Id. Such cases must “rise to the level of egregiousness necessary to

 conclude that the reorganization process is being perverted.” Id. It is the party seeking dismissal

 that bears the initial burden to “present a prima facie case alleging bad faith; once achieved, the

 burden shifts to the debtor to prove that the petition was filed in good faith.” In re Mirant Corp.,

 No. 03-46590, 2005 WL 2148362, at *7 n.20 (Bankr. N.D. Tex. Jan. 26, 2005).

        Furthermore, corporations may “seek the protections of bankruptcy when faced with

 pending litigation that pose[s] a serious threat to the companies’ long-term viability,” and need not



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 wait to “file a valid Chapter 11 petition until after a massive judgment has been entered against

 it.” Official Comm. of Unsecured Creditors v. Nucor Corp. (In re SGL Carbon Corp.), 200 F.3d

 154, 164 (3d Cir. 1999); see also In re Capitol Food Corp. of Fields Corner, 490 F.3d 21, 25 (1st

 Cir. 2007) (“A debtor need not be insolvent before filing a bankruptcy petition . . . . Catastrophic

 business events, such as an imminent or threatened foreclosure on the debtor’s interests . . . are

 precisely the sort of imminent financial distress for which debtors routinely seek chapter 11

 protection”). The court in In re SGL Carbon Corp. observed that while a bankruptcy filing “merely

 to obtain tactical litigation advantages” is not legitimate, a company with a “rehabilitative purpose”

 should be permitted to reorganize. 200 F.3d at 166. Indeed, the court recognized that chapter 11

 protection is appropriate when litigation would result in putting a debtor “out of business,” when

 it causes a “harmful distraction” to a debtor’s management, and causes “harm to its customer

 relationships.” Id. at 167. See also In re FiberTower Network Services Corp., 482 B.R. 169, 185

 n.33 (Bankr. N.D. Tex. 2012) (citing In re SGL Carbon Corp., and finding that “it is clear that

 Debtors filed bankruptcy for the legitimate purpose of restructuring their debt, not as a mere

 litigation tactic”).

         In this case, the New York Attorney General contends that rehabilitating the NRA would

 be futile, and seeks to deny it the means to do so. The New York Attorney General would prefer

 instead to dissolve the NRA, permanently, with no recourse for it to have a “fresh start” and

 reorganize its affairs as it is entitled to do under our bankruptcy laws

         The NRA’s motives in this bankruptcy are therefore not tactical, but existential. The NRA

 has sought protection under chapter 11 to propose a comprehensive plan of reorganization that

 would resolve the outstanding claims against it in a neutral forum, pursue internal governance

 reform, provide equitable treatment for its estate, its creditors, and vendors, and protect its




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 hundreds of employees and its millions of dues-paying members, including the 400,000 residing

 here in Texas. Absent these protections afforded by the Bankruptcy Code, the alternative is that

 the NRA may well cease as a going concern. Its creditors, vendors, and employees will be left

 behind. Its dues-paying members, in many cases lifetime members, will be harmed and deprived

 of an irreplaceable voice that represents them in advocating for their rights under the Second

 Amendment. That is precisely the outcome the Bankruptcy Code intends to prevent. See NLRB

 v. Bildisco and Bildisco, 465 U.S. 513, 528, 104 S.Ct. 1188, 1197 (1984) (“The fundamental

 purpose of reorganization is to prevent a debtor from going into liquidation, with an attendant loss

 of jobs and possible misuse of economic resources.”); see also In re Continental Airlines Corp.,

 43 B.R. 127, 129 (Bankr. S.D. Tex. 1984) (citing Bildisco, noting the court’s “strong adherence”

 to this fundamental principle underlying the Bankruptcy Code, and determining to find “the

 common ground necessary to reach an accommodation and balancing” between the bankruptcy

 laws and the labor laws implicated in that case); In Re Capitol Food Corp. of Fields Corner, 490

 F.3d at 25 (“Two primary purposes of chapter 11 relief are the preservation of businesses as going

 concerns, and the maximization of the assets recoverable to satisfy unsecured claims . . . . If the

 reorganization succeeds . . . everyone wins: the debtor, creditors, employees, and shareholders.”).

        Moreover, this Court is a proper forum to hear and adjudicate any claims related to the

 Debtors’ assets. Section 363(d)(1) of the Bankruptcy Code requires a bankruptcy court to apply

 state nonprofit law when approving a transfer or distribution of a nonprofit debtor’s assets.

 11 U.S.C. § 363(d)(1); In re Advanced Contracting Solutions, LLC, 582 B.R. 285, 298 (Bankr.

 S.D.N.Y. 2018) (“[A] bankruptcy court has exclusive jurisdiction over the estate and the

 disposition of its assets. So while a transfer must comply with the substantive requirements of

 state law—in his case New York’s not-for-profit law . . .          Section 363 permits that any




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 determination that would be made by a non-bankruptcy court in the absence of a bankruptcy case,

 is made by the bankruptcy court to the extent that it implicates the ability to sell a debtor’s assets.”).

 Accordingly, any claim to the NRA’s assets, whether made by the New York Attorney General in

 the form of forced dissolution, or otherwise, should be adjudicated by this Court.

 III.    The New York Attorney General must produce “clear and convincing evidence” to
         justify the “extraordinary” and “draconian” remedy of appointing a chapter 11
         trustee to replace the debtors-in-possession.

         The appointment of a chapter 11 trustee to replace the Debtors as debtors-in-possession is

 an “extraordinary” and “draconian” remedy, the need for which must be established by the moving

 party with “clear and convincing evidence.” Matter of Cajun Electric Power Cooperative, Inc.,

 69 F.3d 746, 749 (5th Cir. 1995), withdrawn in part on rehearing, 74 F.3d 599 (5th Cir. 1999); In

 re Patman Drilling Int’l, Inc., Case No. 07-34622-SGJ, 2008 WL 724086, *6 (Bankr. N.D. Tex.

 Mar. 14, 2008) (“Appointment of a chapter 11 trustee is a draconian remedy. A strong presumption

 exists that a chapter 11 debtor should be permitted to remain in possession.”). Pursuant to

 11 U.S.C. § 1104(a), a chapter 11 trustee may be appointed: (1) for cause, including fraud,

 dishonesty, incompetence, or gross mismanagement of the affairs of the debtor by current

 management, either before or after commencement of the case; (2) if such appointment is in the

 interests of creditors, any equity security holders, and other interests of the estate; or (3) if grounds

 exist to convert or dismiss under section 1112, but the appointment of a trustee instead is in the

 best interests of creditors and the estate. In re Patman Drilling International, Inc., 2008 WL

 724086 at *6. Importantly, the focus is on the debtor’s current activities, not past misconduct.

 See, e.g., In re Bayou Group, LLC, 564 F.3d 541, 547, n.3 (2d Cir. 2009) (pre-petition activity of

 prior management should not be “impute[d]” to the debtor’s current management “when

 considering whether to appoint a trustee for cause”).




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         The drastic step of appointing a trustee to replace the Debtors as debtors-in-possession is

 not warranted here.          Significantly, the Official Committee of Unsecured Creditors (the

 “Committee”) opposes the appointment of a chapter 11 trustee, stating: “[C]onsistent with the

 especially high burden on the Moving Parties for establishing the appointment of a Chapter 11

 trustee, the Committee believes that the risk of future management misconduct is far outweighed

 by the increased costs, delay and other associated risks that would come along with the

 appointment of a Chapter 11 a trustee.” 6

         Further, as explained by the Debtors, and echoed by the Committee, these chapter 11 cases

 are unique. The introduction of an unknown individual as trustee, who may harbor strong

 disagreement with the NRA’s constitutional and political positions, could well be detrimental to

 its mission and would undoubtedly slow down the Debtors’ re-emergence from bankruptcy as the

 trustee deals with the pressures and complexities of leading the NRA during a time of transition.

 This would harm not only the Debtors’ estates by potentially paralyzing the Debtors’

 reorganization, but it would also harm the NRA’s members who would be deprived of leadership

 they know to be devoted to the NRA’s core advocacy mission. The Committee recognizes this

 imperative: “the Committee is apprehensive to support the wholesale displacement of management

 by a Chapter 11 trustee, particularly at such an early stage of these cases and given the unique

 nature of the NRA . . . from a practical standpoint, it is difficult for the Committee to envision a




 6
   See The Official Committee of Unsecured Creditors’ Omnibus Response to (I) Ackerman McQueen, Inc.’ Motion
 to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11
 Trustee, and Brief in Support; (II) The State of New York’s Motion to Dismiss, or, in the Alternative, to Appoint a
 Chapter 11 Trustee and (III) The District of Columbia’s Motion in Support in the State of New York’s Motion to
 Appoint Chapter 11 Trustee, dated March 16, 2021 [ECF No. 368] at ¶ 57.



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 Chapter 11 trustee successfully displacing management given the complex and unique nature of

 the NRA and the regulatory challenges facing the organization.” 7

 IV.         Texas respects the NRA’s right to exist.

             The NRA has publicly declared its intention to emerge from chapter 11 as a nonprofit entity

 domiciled in the State of Texas. Texas is home to more NRA members than any other state. At

 least 400,000 Texans are NRA members, many of whom are proud, lifetime members and are

 continuing a legacy passed on from prior generations. They, and many other citizens, have a vested

 interest in the successful reorganization of the NRA, and its future success in Texas.

             In addition, just as the NRA has stated it is attracted to Texas’s inviting business climate

 and booming economy, so too does the State welcome the opportunities presented by a potential

 move by the NRA to Texas. The Bankruptcy Court has granted the NRA’s application to retain a

 real estate advisor to assist it in locating and renting office space in Texas. [ECF 115, 278]. The

 NRA has advised the Court that certain executives are relocating to Texas and will use this office

 space in connection with the NRA establishing a principal place of business in Texas. [ECF 115].

 The NRA may also purchase property in connection with an anticipated relocation of the NRA’s

 corporate headquarters. Id. With its approximately 500 employees, such a move may promise

 increased economic growth in North Texas. Moreover, the NRA has announced plans to host its

 2021 annual meeting in Houston. The last in-person annual meeting of the NRA in 2019 in

 Indianapolis attracted approximately 80,000 attendees, proving a boon to the local economy. The

 prospect of this, and other future meetings and conventions in the years to come, will further

 benefit the citizens and businesses of Texas.




 7
     Id. at ¶ 56.


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        Accordingly, the State of Texas respectfully requests that the NRA be permitted to

 reorganize its operations under the Bankruptcy Code and the auspices of this Court so that it may

 reemerge as a strong going concern in Texas.

                                          CONCLUSION

        For the foregoing reasons, the State of Texas, as amicus, respectfully requests that

 Movants’ motions to dismiss these chapter 11 cases, or in the alternative, to appoint a trustee

 pursuant to 11 U.S.C. § 1104(a), be denied.

                                                Respectfully submitted,

                                                Ken Paxton
                                                 Attorney General of Texas
                                                Brent Webster
                                                 Appearing under L.B.R. 2090-1(f)
                                                 First Assistant Attorney General
                                                Grant Dorfman
                                                 Appearing under L.B.R. 2090-1(f)
                                                 Deputy First Assistant Attorney General

                                                /s/ James R. Lloyd
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2021, a true and correct copy of the foregoing document

 was served upon all parties entitled to notice via the Court’s electronic transmission facilities.

                                                        /s/ James R. Lloyd
                                                        James R. Lloyd




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